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                        UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF WASHINGTON
                                  AT TACOMA



UNITED STATES OF AMERICA,              )
                                       )
             Plaintiff,                )      NO: CR11-5408RJB
                                       )
       vs.                             )
                                       )      ORDER TO EXTEND
ALEXANDER WALLS,                       )      MOTIONS DEADLINE
                                       )
             Defendant.                )
_____________________________________________________________________________

       Based upon a review of the Defendant’s Motion to Extend Motions Deadline,

       IT IS HEREBY ORDERED that the pre-trial motions due date be continued from September 16,

2011 to September 30, 2011.

       DATED this 28th day of September, 2011.




                                     A
                                     ROBERT J. BRYAN
                                     United States District Judge


Presented by:


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Roger A. Hunko
Attorney for Defendant
